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                           UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF PENNSYLVANIA


NINGBO BONNY E-HOME CO.,                Case No. 2:24-cv-00568
LTD., a corporation of China
                                        DECLARATION OF RAYMOND
                                        CHAN
                 Plaintiff,

v.


ONDWAY, POOLCLEAN US
STORE, USA WAREHOUSE,
BOWANJIE, INPOOL US STORE,
DEWFOND, DIGIGER,
MOTOBUDDY STORE, and et al.
Individual, Partnerships
                    Defendants.


                DECLARATION OF RAYMOND CHAN

     I, Raymond Chan, hereby declare as follows:




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1. I am over 18 years old and am providing this Declaration concerning facts
   within my personal knowledge to which I could testify if asked about and
   in support of Plaintiff’s application for: 1) a temporary restraining order;
   2) an order restraining assets and of Defendants online Storefronts; and 3)
   an order to show cause why a preliminary injunction should not issue in
   light of Defendants’ intentional and willful offerings for sale and/or sales
   of infringing products.
2. I am a practitioner in the intellectual property field and work with the
   RayChan I.P. Law Firm to provide support to the attorneys, and have
   particularly been working with the Plaintiff, Ningo Bonny eHome in the
   present case, including the prosecution of the subject design patent no.
   D985,947.
3. I have assisted Plaintiff in protection of intellectual property and patent
   matters. I have assisted Plaintiff in organizing the technical documentation
   that ultimately became the design patent, which is the subject of the
   present case.
4. I have also done internet research on the internet marketplace for this
   infringement case, specify to understand how Defendants have copied
   Plaintiff’s product in violation of Plaintiffs design patent by selling in the
   United States products which infringe the subject design patent. Plaintiff
   has a very good and popular pool brush product, which the Defendants
   have copied and put online to offer for sale. However, the defendants’
   sales of products that copy Plaintiffs design have grown steadily 2024
   throughout 2022, 2023 and 2024, as shown in the following storefront
   information on Amazon. Now 2025 the sales have taken over 70 percent
   of Plaintiffs revenues.


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5. According to the following data information provided by the plaintiff from the
   Enterprise Resource Planning (ERP), which is a software system that
   organizations use to manage and integrate the core parts of plaintiff’s business,
   the business of the plaintiff suffers huge economic losses due to the infringing
   activities of the defendants.




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When Plaintiff learned that certain of the Defendants had started copying and
selling pool brushes that infringe the design patent, I was asked to help track down
these activities. With the information gained from my research, Plaintiff has been
able to track Defendants’ offers and sales of infringing products have damaged
Plaintiff’s business because they look the same and consumers probably think that
it is the same product that is being offered to them. Plaintiff has experienced
reduced revenues that I attribute to the infringing products being sold on the
market.
In 2022 year:
In view of the above ERP business reports of Ningbo Bonny eHome for the years
2022-2024, the plaintiff shows a high level of revenue in 2022 form the company’s
two products for two pool brush products branded Poolvio and covered by the
design of the design patent no. D985,947. The sales volume from in 2022
were11821 units ordered of the first product 1 and 2499 units of the second
product. The Revenue from these two products, as shown, was $430899.76 for the
first Product and $64890.10 for the second product.
In 2023 year:
The plaintiff’s sales fell off in 2023. The volume of product for the first product
fell to 10456 units and the second product fell to 3994 units. The revenue from the
first product fell to $315725.32 and the second product fells to $121759.98.
In 2024 year:
The plaintiff’s sales significantly fell again in 2024. The volume of the first
product fell to 4462 units the the second product fell to only 2529 units. The
Revenue from the first product fell to $100256.20 and the second product fell to
$55547.64.




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These figures show a dramatic loss that is a least 70% of sales measured by sales
volume and by revenue decline. This decline may continue and make it difficult
for the company to cover its cost of business.


6. My Internet research has led me to understand Internet commerce and how the
Defendants are selling their infringing products. Based upon my personal
experience in reviewing internet commerce I have learned the following facts:
        a. Defendants selling on Internet marketplaces such as Amazon, com and
   eBay do not display their registered business name or trade name, contact
   name, complete address, phone numbers, or any other contact information.
        Thus, Defendants are able to anonymously sell their Infringing Products.
        b. Likewise, these Defendants typically use shipping services provided by
   the marketplace where their sites are located.
        c. Defendants use the financial services provided by the marketplace to
   collect and store payments for the goods marketed on the site.
        d. From my review of other legal cases, I learned that it may be difficult to
   stop the copycats but an effective way to stop the infringing activities is to
   freeze the assets and block sales from a seller.


7. From what I have learned in my research, Defendants maintain on their
commercial sites’ financial balances from their sales of the products, which
financial assets may be accessed and frozen to cover recompensation of the
unauthorized sales.
8. I also understand that marketplaces such as Amazon and eBay will take steps to
block and deter infringing sales such as those by Defendants if they are provided
with a judicial order or Court injunction such as the ones sought by Plaintiff in this
case.
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I declare under penalty of perjury that the foregoing is true and correct from my
personal knowledge.


Executed at Monterey Park, California
May 01, 2025




_____________________________________
Raymond Y Chan




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